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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                        :         CRIMINAL NO:

                    v.                           :         DATE FILED:

 MARIO RAMIREZ                                   :         VIOLATIONS:
 MATTHEW STEPHENS
     a/k/a AMontana@                             :         18 U.S.C. ' 371 (conspiracy to deal in
                                                           firearms without a license - 1 count)
                                                 :         18 U.S.C. ' 922(a)(1)(A) (dealing in
                                                           firearms without a license – 2 counts)
                                                 :         18 U.S.C. §922(g)(1) (possession of a
                                                           firearm by a felon – 10 counts)
                                                 :         18 U.S.C. § 922(o) (possession of a
                                                           machine gun - 1 count)
                                                 :         Notice of forfeiture




                                          INDICTMENT

                                           COUNT ONE

THE GRAND JURY CHARGES THAT:

               At all times material to this indictment:

               1.        Defendant MARIO RAMIREZ lived on the 200 block of Tioga Street in

Philadelphia, Pennsylvania.

               2.        Defendant MARIO RAMIREZ used an address on the 3000 block of A

Street in Philadelphia, Pennsylvania to receive packages.

               3.        Defendant MATTHEW STEPHENS lived on the 2300 block of North

Howard Street, Philadelphia, Pennsylvania (“the North Howard Street residence”).

               4.        The individual hereafter identified as “the Buyer” is a person whose

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identity is known to the grand jury.

                5.     A machinegun conversion device is designed and intended for use in

converting a semiautomatic Glock pistol to fire automatically.

                6.    A self-made unserialized firearm, commonly referred to as a “SMUF,” is

an unregistered firearm that lacks any identifiable markings.

                7.    A SMUF is created by purchasing a do-it-yourself kit which contains all of

the individual parts needed to create a gun in a partially drilled state, commonly referred to as an

unfinished receiver, a blank, or an “80%” receiver.

                8.     Defendants RAMIREZ and STEPHENS were not licensed by the federal

government to sell firearms or machineguns.

                9.     From in or about September 2018 through in or about December 2018, in

Philadelphia, in the Eastern District of Pennsylvania, defendants

                                    MARIO RAMIREZ AND
                                    MATTHEW STEPHENS,
                                      a/k/a “Montana,”

conspired and agreed, together and with others known and unknown to the grand jury, to commit

an offense against the United States, that is, to willfully engage in the business of dealing in

firearms without being licensed to do so, in violation of Title 18, United States Code, Section

922(a)(1)(A).

                                       MANNER AND MEANS

                10.    Defendants MARIO RAMIREZ and MATTHEW STEPHENS were

associated with each other and worked together to sell firearms, machine gun conversion

devices, and ammunition.

                11.   Defendant MARIO RAMIREZ purchased firearm-making kits over the

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internet and manufactured SMUFs to sell for a profit. Defendant RAMIREZ purchased

machinegun conversion devices over the internet to sell for a profit.

               12.     Defendant MATTHEW STEPHENS arranged communications between

defendant MARIO RAMIREZ and the Buyer on multiple occasions and facilitated the sale of

firearms, machinegun conversion devices, and ammunition by defendant RAMIREZ to the

Buyer. Defendant STEPHENS also made sales directly to the Buyer.

                                         OVERT ACTS

               In furtherance of the conspiracy and to accomplish its object, defendants MARIO

RAMIREZ and MATTHEW STEPHENS committed the following overt acts, among others, in

the Eastern District of Pennsylvania:

               1.      From in or about September 2018 through in or about November 2018,

defendant MARIO RAMIREZ purchased firearm-making kits and machinegun conversion

devices over the internet.

               2.      Defendant MARIO RAMIREZ shipped the firearm parts and machinegun

conversion devices to a residence on the 3000 block of A Street in Philadelphia, Pennsylvania.

               3.      Defendant MARIO RAMIREZ manufactured firearms from the kits he

purchased for the purpose of selling the firearms.

               4.      On or about September 18, 2018, defendant MARIO RAMIREZ,

defendant MATTHEW STEPHENS, and the Buyer discussed the sale of firearms scheduled for

September 19, 2018.

               5.      On or about September 19, 2018, at the North Howard Street residence,

the Buyer purchased a black SMUF AR-15 style pistol, a .40 caliber SMUF Glock 22

semiautomatic pistol, a black Olympic Arms AR-15 rifle bearing serial

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number CH-9815, 17 live rounds of .40 caliber Smith & Wesson ammunition, 210 live rounds of

.223 caliber ammunition, three rifle magazines, and one large drum magazine from defendant

MATTHEW STEPHENS, in exchange for $4500.

               6.      On or about September 22, 2018, defendant MARIO RAMIREZ,

defendant MATTHEW STEPHENS, and the Buyer discussed the price of a rifle for sale.

               7.      On or about September 24, 2018, at the North Howard Street residence,

the Buyer purchased a Beretta ARX 100 semiautomatic rifle bearing serial number SX02069

from defendant MATTHEW STEPHENS, in exchange for $2600.

               8.      On or about September 29, 2018, defendant MATTHEW STEPHENS and

the Buyer discussed the pending sale of an assault rifle pistol.

               9.      On or about October 2, 2018, at the North Howard Street residence, the

Buyer purchased a Stoeger Cougar 8000 semiautomatic pistol bearing serial number

T642908D018640, a SMUF AR-15 style rifle, 11 live rounds of .40 caliber ammunition, and 30

live rounds of .223 caliber ammunition from defendant MATTHEW STEPHENS, in exchange

for $3700.

               10.     On or about October 18, 2018 and October 19, 2018, defendant

MATTHEW STEPHENS called the Buyer to discuss the purchase of firearms scheduled for

October 19, 2018.

               11.     On or about October 19, 2018, at the North Howard Street residence, the

Buyer purchased a SMUF AR-15 style pistol, a SMUF tan and brown AR-15 rifle, and three

black AR-15 magazines containing 90 rounds of 5.56 caliber LC 17 ammunition from defendant

MATTHEW STEPHENS, in exchange for $3400.

               12.     On or about October 19, 2018, defendant MARIO RAMIREZ, defendant

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MATTHEW STEPHENS, and the Buyer discussed the purchase which took place earlier that

same day.

              13.     On or about November 2, 2018, at the North Howard Street residence, the

Buyer purchased five SMUF AR-15 style pistols, five black AR-15 magazines containing 149

rounds of 5.56 caliber LC 18 ammunition, a Smith & Wesson .357 Magnum revolver bearing

serial number BSB7271, and a Ruger Mark II Target .22 caliber semiautomatic pistol bearing

serial number 212-29646 from defendants MARIO RAMIREZ and MATTHEW STEPHENS, in

exchange for $8300.

              14.     On or about November 13, 2018, at the North Howard Street residence,

the Buyer purchased two SMUF AR-15 style pistols, two black AR-15 magazines containing 69

live rounds of 5.56 caliber LC 18 ammunition, a Smith & Wesson M&P Bodyguard .380 caliber

semiautomatic pistol bearing serial number KDX4425, loaded with 6 live rounds of .380 caliber

ammunition, a Taurus PT 24/7 .45 ACP caliber semiautomatic pistol bearing serial number

NCI24146, loaded with 17 live rounds of .45 ACP ammunition, and a Llama 1911 .45 caliber

semiautomatic pistol bearing serial number A20908, loaded with 17 live rounds of .45 ACP

ammunition, from defendant MATTHEW STEPHENS, in exchange for $5500.

              15.     On or about November 28, 2018, defendant MARIO RAMIREZ

concealed his inventory of firearms, firearm-making kits, and ammunition by placing them in

black trash bags and bringing them to defendant MATTHEW STEPHENS’ North Howard Street

residence, in an effort to hide them from law enforcement.

              16.     On or about November 29, 2018, at the North Howard Street residence,

the Buyer purchased four SMUF AR-15 rifles, two black AR-15 magazines containing 60 live

rounds of 5.56 caliber LC 18 ammunition, two black AR-15 magazines, a Davis Industries model

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P380 .380 caliber semiautomatic pistol bearing serial number AP311177, loaded with 6 live

rounds of .380 ammunition, a Glock Model 27 .40 caliber semiautomatic pistol bearing serial

number MAS845, and a Glock Model 26 9mm semiautomatic pistol bearing serial number

HSZ063 from defendant MATTHEW STEPHENS, in exchange for $8500.

              17.     On or about December 7, 2018, at the North Howard Street residence, the

Buyer purchased four kits containing the upper parts of an AR-15 firearm, four Glock

machinegun conversion devices, two kits containing the lower parts of a firearm, miscellaneous

firearm parts, handcuffs, and 120 live rounds of 5.56 caliber Federal ammunition from defendant

MATTHEW STEPHENS, in exchange for $4200.

              All in violation of Title 18, United States Code, Section 371.




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                                          COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

                At all times material to this indictment:

                1.     Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

                2.     From in or about September 2018 through in or about December

2018, in the Eastern District of Pennsylvania, defendant

                                       MARIO RAMIREZ

willfully engaged in the business of dealing in firearms without being licensed to do so under the

provisions of Chapter 44, Title 18, United States Code.

                In violation of Title 18, United States Code, Sections 922(a)(1)(A) and

924(a)(1)(D).




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                                         COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

                At all times material to this indictment:

                1.     Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

                2.     From in or about September 2018 through in or about December

2018, in the Eastern District of Pennsylvania, defendant

                                       MATTHEW STEPHENS,
                                          a/k/a “Montana,”

willfully engaged in the business of dealing in firearms without being licensed to do so under the

provisions of Chapter 44, Title 18, United States Code.

                In violation of Title 18, United States Code, Sections 922(a)(1)(A) and

924(a)(1)(D).




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                                         COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

               2.      On or about September 19, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                   MATTHEW STEPHENS,

                                        a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a .40 caliber SMUF Glock 22 semiautomatic pistol; a black Olympic Arms AR-15

rifle bearing serial number CH-9815; 17 live rounds of .40 caliber Smith & Wesson ammunition;

and 210 live rounds of .223 caliber ammunition; and the firearm and ammunition were in and

affecting interstate and foreign commerce.
                In violation of Title 18, United States Code, Section 922(g)(1).




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                                         COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.     Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.     On or about September 24, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                  MATTHEW STEPHENS,
                                    a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a Beretta ARX 100 semiautomatic rifle bearing serial

number SX02069, and the firearm was in and affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                         COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about October 2, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                  MATTHEW STEPHENS,
                                    a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a Stoeger Cougar 8000 semiautomatic pistol bearing serial number T642908D018640;

11 live rounds of .40 caliber ammunition; and 30 live rounds of .223 caliber ammunition; and the

firearm and ammunition were in and affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                       COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about October 19, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                  MATTHEW STEPHENS,
                                    a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed ammunition, that is, three black AR-15 magazines

loaded with 90 live rounds of 5.56 caliber LC 17 ammunition, and the ammunition was in and

affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                        COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.     Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

               2.     On or about November 2, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                   MATTHEW STEPHENS,
                                     a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, that is, at least one of the following: a Smith

& Wesson .357 Magnum revolver bearing serial number BSB7271; a Ruger Mark II Target .22

caliber semiautomatic pistol bearing serial number 212-29646; and five black AR-15 magazines

containing a total of 149 live rounds of 5.56 caliber LC 18 ammunition; and the firearms and

ammunition were in and affecting interstate and foreign commerce.

               In violation of Title 18, United States Code, Section 922(g)(1).




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                                        COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about November 2, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                     MARIO RAMIREZ,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a Smith & Wesson .357 Magnum revolver bearing serial number BSB7271; a Ruger

Mark II Target .22 caliber semiautomatic pistol bearing serial number 212-29646; and five black

AR-15 magazines containing a total of 149 live rounds of 5.56 caliber LC 18 ammunition; and

the firearms and ammunition were in and affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                         COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about November 13, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                  MATTHEW STEPHENS,
                                    a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a Smith & Wesson M&P Bodyguard .380 caliber semiautomatic pistol bearing serial

number KDX4425, loaded with 6 live rounds of .380 caliber ammunition; a Taurus PT 24/7 .45

ACP caliber semiautomatic pistol bearing serial number NCI24146, loaded with 17 live rounds

of .45 ACP ammunition; a Llama 1911 .45 caliber semiautomatic pistol bearing serial number

A20908, loaded with 17 live rounds of .45 ACP ammunition; and two black AR-15 magazines

containing 69 live rounds of 5.56 caliber LC 18 ammunition; and the firearms and ammunition

were in and affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                      COUNT ELEVEN

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about November 28, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                     MARIO RAMIREZ

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a Davis Industries model P380 .380 caliber semiautomatic pistol bearing serial

number AP311177, loaded with 6 live rounds of .380 ammunition; a Glock Model 27 .40 caliber

semiautomatic pistol bearing serial number MAS845; a Glock Model 26, 9mm semiautomatic

pistol bearing serial number HSZ063; and two black AR-15 magazines containing 60 live rounds

of 5.56 caliber LC 18 ammunition; and the firearms and ammunition were in and affecting

interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                      COUNT TWELVE

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about November 29, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                   MATTHEW STEPHENS,
                                     a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, that is, at least one of the

following: a Davis Industries model P380 .380 caliber semiautomatic pistol bearing serial

number AP311177, loaded with 6 live rounds of .380 ammunition; a Glock Model 27 .40 caliber

semiautomatic pistol bearing serial number MAS845; a Glock Model 26, 9mm semiautomatic

pistol bearing serial number HSZ063; and two black AR-15 magazines containing 60 live rounds

of 5.56 caliber LC 18 ammunition; and the firearms and ammunition were in and affecting

interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                     COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

              At all times material to this indictment:

              1.      Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

              2.      On or about December 7, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                  MATTHEW STEPHENS,
                                    a/k/a “Montana,”

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed ammunition, that is, 120 live rounds of 5.56 caliber

Federal ammunition, and the ammunition was in and affecting interstate and foreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(1).




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                                     COUNT FOURTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.     Paragraphs 1 through 8 and 10 through 12 and the Overt Acts of Count

One are incorporated here.

               2.     On or about December 7, 2018, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                   MATTHEW STEPHENS,
                                     a/k/a “Montana,”

knowingly possessed a machinegun, as defined by Title 18, United States Code, Section

921(a)(23), and Title 26, United States Code, Section 5845(b), that is, one or more of the

following: four Glock-type, select-fire machinegun conversion devices intended for use in

converting a semiautomatic Glock pistol to fire automatically, without identifying marks and

serial numbers.

               In violation of Title 18, United States Code, Section 922(o).




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                                 NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violations of Title 18, United States Code, Sections 371,

922(a)(1)(A) and 922(g)(1), as set forth in the this indictment, defendants

                                   MARIO RAMIREZ and
                                   MATTHEW STEPHENS,
                                     a/k/a “Montana,”

shall forfeit to the United States of America all firearms and ammunition involved in the

commission of these offenses, including but not limited to:

               1. a black SMUF AR-15 style pistol (no serial number);

               2. a .40 caliber SMUF Glock 22 semiautomatic pistol (no serial number);

               3. a black Olympic Arms AR-15 rifle (serial number CH-9815);

               4. a Beretta ARX 100 semiautomatic rifle (serial number SX02069);

               5. a Stoeger Cougar 8000 semiautomatic pistol (serial number
                  T642908D018640);

               6. five SMUF AR-15 style rifle (no serial number);

               7. a SMUF AR-15 style pistol (no serial number);

               8. a SMUF tan and brown AR-15 style rifle (no serial number);

               9. five SMUF AR-15 style pistols (no serial numbers);

               10. a Smith & Wesson .357 Magnum revolver (serial number BSB7271);

               11. a Ruger Mark II Target .22 caliber semiautomatic pistol (serial number

                   212-29646);

               12. two SMUF AR-15 style pistols (no serial numbers);

               13. a Smith & Wesson M&P Bodyguard .380 caliber semiautomatic pistol (serial
                   number KDX4425) loaded with 6 live rounds of .380 caliber ammunition;

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                   14. a Taurus PT 24/7,.45 ACP caliber semiautomatic pistol (serial number
                       NCI241 46) loaded with 17 live rounds of .45ACP ammunition;

                   15. a Llama 1911.45caliber semiautomatic pistol (serial number A20908) loaded
                       with 17 live rounds of .45ACP ammunition;

                   16 . a Llama 1911 .45caliber semiautomatic pistol (serial number A20908) loaded
                       with 17 live rounds of .45 ACP ammunition;

                   17 . a Davis Idustries model P3 8 0, 3 8 0caliber semiautomatic pistol (serial
                        number AP3 1117 7);

                   18. a Glock Model 27 .40caliber semiautomatic pistol (serial number MAS845);

                   19. a Glock Model 26 9mm semiautomatic pistol (serial number HSZ063);

                   20. four Glock-type select-fire machingun conversion devices; and

                   21. all other ammunition recovered or purchased during the conspiracy .


                   All pursuant to Title 18, United States Code, Section 924(d), made applicable by

 Title 28, United States Code, Section 2461 (c).



                                                          ATRCEBILL:




                                                          ________________________
                                                          GRAND JURY FOREPERSON
   ,,,..-------�
,,"WILLIAM M. McSWAIN.
   l.JNITED STATES ATTO             y




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